Case: 23-2051 Document: 13 Page: 1 Date Filed: 07/20/2023

IN THE UNITED STATES COURT OF APPEALS
FOR THE THIRD CIRCUIT

VERNON D.F. ROBBINS,
APPELLANT i
V. : CASE NUMBER: 23-2051
(DISTRICT COURT CASE NO.

JOHN E. WETZEL, et al., : 1:23-CV-0276) o\W

APPELLEES

APPELLANT'S ARGUMENT IN
SUPPORT OF APPEAL

AND NOW, Appellant Vernon D.F. Robbins, pro se, moves to file an Argument in
Support of an Appeal being permissable and granted to proceed as being appropriate
pursuant to Third Circuit L.A.R. 27.4 and I.O.P. 10.6.

PROCEDURAL AND FACTUAL HISTORY

1. On May 8, 2023, the District Court issued an Order and Memorandum
dismissing (with prejudice) Appellant's Amended Complaint (Doc. 4) as untimely, and
directed the Clerk of Court to close the case.

2. On June 7, 2023, Appellant Robbins submitted a timely 59(e) Motion to Alter
or Amend a Judgment, which was accepted as timely filed by the District Court, along
with filing the Notice of Appeal ("NOA") with attached instructions that requested the
NOA, along with, the Record On Appeal (F.R.A.P. 10), and In Forma Pauperis
Application, alftbe held in abeyance until a decision is rendered on the 59(e) motion.
Case: 23-2051 Document:13 Page:2 Date Filed: 07/20/2023

3. On June 8, 2023, The District Court issued an Order and Memorandum
denying Appellant's 59(e) Motion To Alter or Amend a Judgment (See District Court's
June 8, 2023 Order and Memorandum attached as Exhibit-A) ; and directed the Clerk
of Court to certify the Supplemental Record on Appeal; and notify the United States
Court Of Appeals for the Third Circuit of the supplemental record.

4. On June 17, 2023, Appellant filed an additional Notice Of Appeal, Record On
Appeal (F.R.A.P. 10), and Application to Proceed In Forma Pauperis (28 U.S.C. § 1915)
from the District Court's June 8, 2023 Order denying Appellant's 59(e) motion.

5. On June 30, 2023, Appellant's Application to Proceed In Forma Pauperis was

granted by This Court.

MEMORANDUM IN SUPPORT

In accordance with Federal Rules of Civil Procedure, Rule 59(e), it states: "A
prematurely filed appeal during the pendency of a Rule 59(e) Motion is held in
abeyance until the date the District Court resolves the pending motion." (underline
emphasis added)(See Fed.R.Civ.P. 59(e) attached as Exhibit-B). A hold in abeyance
pending a Rule 59(e) motion is supported by case Stansel v. Revolutionary Armed
Forces of Columbia, 771 F.3d 713, 745-46 (11th Cir. 2014). It is also supported by the
Federal Rules of Appellate Procedure, Rule 4(a)(2), which establishes: "(2) Filing
Before Entry of Judgment. 'A notice of appeal filed after the court announces a

decision or order- but before the entry of the judgment or order- is treated as filed on
the date of and after the entry.’ (See F.R.A.P. 4(a)(2) attached as Exhibit-C). A stay in
abeyance in support of this process is accepted by rulings held in Plesh v,Director,
Office of Workers' Compensation Programs U.S. Dept. of Labor, 71 F.3d 103, 111 (3d
Cir. 1995)(citing Hodge v, Hodge, 507 F.2d 87, 89 (3d Cir. 1975)). Appellant filed his
NOA (and accompanying documents)(dated June 7, 2023) simultaneously with the

59(e) motion of the same date.
Case: 23-2051 Document:13 Page:3 Date Filed: 07/20/2023

Due to the District Court's acceptance of Appellant's 59(e) motion and
subsequent June 8, 2023 ruling, Banister v Davis, 140 S.Ct. 1698, 1703 (2020),
confirms: "Once a timely ruled 59(e) motion is filed, there is no longer a final

judgment to appeal from (See Nutraceutical Corp. v Lambert, 139 S.Ct. 710, 717,
203 L.Ed. 2d 42 (2019). Also, see F.R.A.P., Rule 4(a)(4)(A)(IV)(Exhibit-D).
Appellant acknowledges that the acceptance of the 59(e) motion restarts the time
to appeal from the June 8, 2023 District Court's Order; though, Appellant has

cured any current jurisdictional deficiencies, deprivation, or shortages authorized
by This Court by Appellant's June 8, 2023 Order.

So, with the June 8, 2023 response Order and Memorandum opinion being
given to Appellant's 59(e) motion, said Order constitutes a "final decision" by the
District Court which concludes any and all claims against all Defendants in
Appellant's case. Appellant's Notice of Appeal (and accompanying documents
mentioned above) taken on June 17, 2023, was filed within 30 days of the District
Court's June 8, 2023 Order, and is, thereby, timely (See Exhibit-E). This said Court
of Appeals now has plenary jurisdiction to review the District Court's June 8, 2023
Final Judgment decision and all other previous Orders by said District Court
presented by Appellant in the appellate case herein (no. 23-2051). In accordance
with 28 U.S.C. § 1291, This Court has the jurisdiction and inherent power to
consolidate Appellant's June 7 & 17, 2023 Notice of Appeal, Records on Appeal
(F.R.A.P. 10), and In Forma Pauperis Applications so that all Orders (June 8, 2023;
May 8, 2023; and March 31,2023) are brought on appeal under case no. 23-2051,
as they all pertain to the same previous case under District Court No. 1:23-
CV-0276.
Case: 23-2051 Document:13 Page:4 Date Filed: 07/20/2023

CONCLUSION

For the aforementioned reasons, Appellant requests that This Court
determine that Summary Action under Third Circuit L.A.R. 27.4 and 1.0.P. 10.6 is
appropriate and ripe for appellate review and brief submittal.

Respectfully submitted,

—. 4 ¥
Date:_ JULY U 2023 Mel LE
‘ Hon. Vernon D.F. Robbins
GK8880
1100 Pike Street
Huntingdon, Pa. 16654-
1112

Case: 23-2051 Document:13 Page:5 Date Filed: 07/20/2023

VERIFICATION

Appellant hereby certifies that the following information is true and
correct, pursuant to 28 U.S.C. § 1746, to the best of my knowledge and belief.
Appellant understands that any false statement answer to any question in this
verified statement will subject him to penalties provided by misdemeanor.

CERTIFICATE OF SERVICE

Appellant hereby certifies that on this {{TU_ dayof_.JULY _, 2023,
Appellant caused the foregoing Appellant's Argument in Support of Appeal to be

served upon the following persons indicated below:

Office of the Clerk

United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse

601 Market Street

Philadelphia, Pa. 19106

Sean A. Kirkpatrick

Office of Attorney General
15th Floor, Strawberry Square
Harrisburg, Pa. 17120

Respectfully Submitted,
- Z

Date: JULY (!, 2022 yee ff PCE.
Hon. Vernon D.F. Robbins
GK8880

1100 Pike Street
Huntingdon, Pa. 16654-1112
Case: 23-2051 Document:13 Page:6 Date Filed: 07/20/2023
EXHIBIT ~ A
IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
VERNON D.F. ROBBINS, : CIVIL ACTION NO. 1:23-CV-276
Plaintiff (Judge Conner)
v.
JOHN E. WETZEL, et al.,
Defendants
ORDER
AND NOW, this 8th day of June, 2023, for the reasons set forth in the
accompanying memorandum, it is hereby ORDERED that:
1. Plaintiffs motion (Doc. 16) to alter judgment is DENIED.
2. The Clerk of Court is directed to certify a supplemental record on

appeal and notify the United States Court of Appeals for the Third
Circuit of the supplemental record.

/S/ CHRISTOPHER C. CONNER
Christopher C. Conner

United States District Judge
Middle District of Pennsylvania

Case: 23-2051 Document:13 Page:7 Date Filed: 07/20/2023

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

VERNON D.F. ROBBINS, : CIVIL ACTION NO. 1:23-CV-276
Plaintiff (Judge Conner)
v.
JOHN E. WETZEL, et al.,
Defendants

MEMORANDUM

This is a prisoner civil rights case filed pursuant to 42 U.S.C. § 1983. Plaintiff,
Vernon D.F. Robbins, a prisoner in the Huntingdon State Correctional Institution
(“SCI-Huntingdon”), alleges violations of his civil rights by SCI-Huntingdon and
Pennsylvania Department of Corrections (“DOC”) officials. The court dismissed the
case with prejudice as untimely pursuant to 28 U.S.C. § 1915(e)(2) and 28 U.S.C. §
1915A on May 8, 2023. Robbins has filed a motion to alter the judgment. We will
deny the motion.

I. Factual Background & Procedural History

Robbins filed his complaint on February 8, 2023, and the court received and
docketed the complaint on February 15, 2023. (Doc. 1). He filed an amended
complaint on February 28, 2023. (Doc. 4). The amended complaint alleges that the
conditions of Robbins’s confinement increase the risk that he will contract COVID-
19. (Iid.) On March 31, 2023, the court sua sponte raised the issue of timeliness and

directed Robbins to show cause as to why the case should not be dismissed as

Case: 23-2051 Document:13 Page:8 Date Filed: 07/20/2023

untimely. (Doc. 9). After considering Robbins’s response, the court dismissed the
case with prejudice as untimely on May 8, 2023. (Docs. 13-14).

The court’s memorandum dismissing the case noted that Robbins’s civil
rights claims are governed by Pennsylvania’s two-year statute of limitations for
personal injury actions. (Doc. 13 at 4). We concluded that the limitations period
began to run on September 23, 2020, the date Robbins was released from the
restricted housing unit and allegedly was subjected to unconstitutional conditions
of confinement in general population. (Id.) Because the complaint was filed
approximately 29 months after that date, we found that it was facially untimely and
subject to dismissal unless it could be deemed timely on the basis of statutory or
equitable tolling. (Id. at 5).

We found that the limitations period was statutorily tolled from October 15,
2020 to February 9, 2021 while Robbins pursued administrative remedies. (Id.) We
noted Robbins’s argument that the complaint is timely because it was filed on
February 8, 2023, one day before the limitations period would have expired if it had
begun on February 9, 2023, but rejected the argument, noting that tolling pauses a
limitations period and does not restart the limitations period. (Id.) Thus, because
22 days had already elapsed towards the end of the limitations period between
September 23, 2020 and October 15, 2020, Robbins’s complaint “needed to be filed
within 708 days of February 9, 2021, or no later than January 18, 2023” to comply
with the limitations period. (Id. at 6).

Robbins argued that the court should have deemed 15 days to have elapsed

towards the limitations period before October 15, 2020 rather than 22 days because

2

Case: 23-2051 Document:13 Page:9 Date Filed: 07/20/2023

the DOC calculates the deadline for a prisoner to file a grievance based on working
days rather than calendar days and only 15 working days had elapsed during that
period. (Id.) We found this distinction immaterial because the complaint would be
untimely whether the elapsed period was calculated as 22 days or 15 days. (Id.)

We additionally found that statutory tolling did not apply to the period
between September 23, 2020 and October 15, 2020. (Id. at 7 n.6). We noted that we
were unaware of any controlling precedent applying statutory tolling to the period
between an underlying incident and the filing of a prisoner’s grievance. (Id.) Given
the absence of controlling precedent, we relied on our prior decision in Edens v.
White, No. 1:18-CV-678, 2020 WL 1531220, at *4 (M.D. Pa. Mar. 31, 2020), which
concluded that statutory tolling begins on the date the plaintiff files his grievance
and not on the date of the underlying incident. (Doc. 13 at 7 n.6). Finally, we found
that Robbins was not entitled to equitable tolling because he had not advanced any
equitable tolling arguments. (Id. at 7-8).

Robbins filed the instant motion to alter judgment pursuant to Federal Rule
of Civil Procedure 59(e) on June 1, 2023, and the court received and docketed the
motion on June 7, 2023. (Doc. 16). Robbins has additionally appealed our decision
to the United States Court of Appeals for the Third Circuit. (Docs. 17-18). The
court considers Robbins’s arguments for reconsideration below.

Il. Legal Standard

Motions to alter or amend judgment under Federal Rule of Civil Procedure

59(e) must rely on at least one of the following three grounds: “(1) an intervening

change in controlling law; (2) the availability of new evidence; or (3) the need to

3

Case: 23-2051 Document:13 Page:10 Date Filed: 07/20/2023

correct clear error of law or prevent manifest injustice.” Wiest v. Lynch, 710 F.3d

121, 128 (3d Cir. 2013) (quoting Lazaridis v. Wehmer, 591 F.3d 666, 669 (3d Cir.

2010)); see also Max’s Seafood Café v. Quinteros, 176 F.3d 669, 677-78 (3d Cir. 1999);
Harsco Corp. v. Zlotnicki, 779 F.2d 906, 909 (3d Cir. 1985). Parties may not invoke
motions to alter or amend judgment to “relitigate old matters” or present previously
available arguments or evidence. See Exxon Shipping Co. v. Baker, 554 U.S. 471,
485 n.5 (2008) (citation omitted); Kropa v. Cabot Oil & Gas Corp., 716 F. Supp. 2d
375, 378 (M.D. Pa. 2010).

III. Discussion

We liberally construe Robbins’s motion to advance five arguments for
reconsideration. We address these arguments seriatim.

Robbins’s first argument is that the court committed a clear error of law in
deeming his complaint untimely because none of his administrative grievances or
appeals were rejected as untimely by the DOC. (Doc. 16 at 6). This argument is
immaterial. Timeliness of an administrative grievance may be relevant to whether
a prisoner plaintiff has exhausted administrative remedies, but it is irrelevant to the
question of whether his complaint in federal court is timely.

The second argument for reconsideration is that the court erred by
concluding that the limitations period began to run on September 23, 2020 because
Robbins did not state on the face of his amended complaint that he was aware of his
injury on September 23, 2020. (Id.)

We find this argument unpersuasive. Robbins clearly alleged facts in his

amended complaint and attached exhibits indicating that he was subjectively aware

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Case: 23-2051 Document:13 Page: 11 Date Filed: 07/20/2023

of his alleged injury—the increased risk of contracting COVID-19—beginning on
September 23, 2020. (See Doc. 4 113 (“On September 23, 2020, Plaintiff Robbins
was released from the Restricted Housing Unit ... and placed in a double cell with
another inmate on CA-Unit within SCI Huntingdon during the height of the
COVID-19 pandemic of which subjected Robbins to the high risk, imminent and
immediate danger of contracting the COVID-19 virus.” (minor spelling errors
corrected)); Doc. 4-4 at 2 (“On 9/23/20, I was released from the Restricted Housing
Unit ...and placed on CA Unit in cell 2013 with a cellmate and/or “double-celled”
with another individual. This form/type of placement subjects me to immediate
danger of contracting the COVID-19 virus ... by being housed in a cell with another
prisoner which creates the inability to practice social distancing.”).)

Robbins next argues that the court committed a clear error of law by citing
nonprecedential decisions of our court of appeals for the proposition that courts
may dismiss complaints as untimely under the screening provisions of 28 U.S.C. §
1915(e)(2) and 28 U.S.C. § 1915A “if the untimeliness is clear from the face of the
complaint or the court has given the plaintiff notice and an opportunity to respond
with respect to the timeliness issue.” (Id. at 8 (citing Doc. 13 at 4)). Robbins argues
this statement is contrary to controlling precedent stating that complaints may only
be dismissed as untimely at the pleading stage if the untimeliness is apparent from
the face of the complaint. (Id. at 9). This distinction is immaterial because the
untimeliness of Robbins’s claims is apparent from the face of his complaint. Hence,

we find this is not an appropriate basis for reconsideration.

Case: 23-2051 Document:13 Page:12 Date Filed: 07/20/2023

Robbins’s fourth argument is that the court erred in finding that no
controlling precedent applied statutory tolling to the time between an underlying
incident and the plaintiff filing a grievance because both Paluch v. Sec’y Pa. Dep’t
of Corrs., 442 F. App’x 690 (3d Cir. 2011) and Wisniewski v. Fisher, 857 F.3d 152 (3d
Cir. 2017) did so. (Doc. 16 at 9-10).

Robbins misconstrues Paluch and Wisniewski. In Paluch, a prisoner plaintiff

brought suit based on an alleged assault on September 9, 2004 and the district court
dismissed several of his claims as untimely. Paluch, 442 F. App’x at 693-94. The
court of appeals affirmed, noting in relevant part that the limitations period for the
plaintiff's complaint was tolled from September 10, 2004, when he filed a grievance
about the assault, to January 24, 2005, when his final administrative appeal was
denied. Id. at 694. Paluch is distinguishable from the instant case because the

plaintiff in Paluch filed a grievance the day after the assault in question, meaning

that no time accrued towards the end of the limitations period before the filing of
his grievance. See FED. R. Civ. P. 6(a)(1)(A) (noting that when a time period is stated
in days, courts must “exclude the day of the event that triggers the period” when
calculating the period).

In Wisniewski, a prisoner plaintiff who was employed as an inmate legal
reference aide alleged that numerous defendants violated his constitutional rights
after learning that he was assisting a “notoriously litigious” inmate in filing
grievances against prison officials. Wisniewski, 857 F.3d at 154. The district court
dismissed several of the plaintiff's claims as untimely, but the court of appeals

reversed. The court noted that the limitations period is tolled while an inmate

Case: 23-2051 Document:13 Page:13 Date Filed: 07/20/2023

pursues administrative relief and stated that the allegations of the plaintiff's
complaint “did not rule out the possibility that the statute of limitations should have
been tolled while Wisniewski exhausted his administrative remedies.” Id. at 158.
“For example,” the court continued, “Wisniewski alleged multiple instances of
retaliatory conduct from approximately April 2011 through November 2011, during
which time he was also filing numerous related grievances.” Id. Given this
uncertainty, the court found that it was not apparent from the face of the complaint
that the plaintiff's claims were untimely. Id.

Wisniewski does not hold that statutory tolling applies to the period between
an underlying incident and the filing of a grievance. Instead, it stands for the well-
established proposition that the limitations period is tolled while a prisoner pursues
administrative remedies. See id. at 158. The Wisniewski court overruled dismissal
of the case on timeliness grounds because it was not clear from the face of the
complaint whether tolling applied to the facts of the case. But no such lack of
clarity is present in this case: the court has found, and Robbins agrees, that he
pursued administrative remedies from October 15, 2020 to February 9, 2021 and
that the limitations period was tolled for the entirety of this period. (Gee Doc. 13 at
5). Robbins argues that tolling should also encompass the 22-day period between
when he was removed from the RHU and when he filed his grievance on October

15, 2020, but Wisniewski and Paluch are silent on this point.

Finally, Robbins argues that our reliance on our prior decision in Edens

constitutes legal error because our paraphrased statement of the Edens holding

does not appear in Edens and because Edens was decided at the summary

Case: 23-2051 Document:13 Page:14 Date Filed: 07/20/2023

judgment stage rather than the screening stage. (Id. at 10-11). Robbins argues this
distinction is material because summary judgment proceedings are based on a full
evidentiary record while screening reviews are based solely on the allegations in the
complaint. (Id. at 11).

This argument is without merit. Our decision in this case summarized Edens
in an explanatory parenthetical as “holding that [the] limitations period was tolled
beginning on the date plaintiff filed [his] grievance and that seven calendar days
that elapsed prior to filing the grievance were therefore deducted from the
limitations period that remained after the statutory tolling period ended, meaning
that plaintiff needed to file his complaint within 723 days of the statutory tolling
period ending.” (See Doc. 13 at 7n.6). This is an accurate summary of Edens,
where we stated the following:

It is undisputed that Edens knew or should have known of the loss of

his legal materials on December 23, 2015, when he spoke to defendant

White. Therefore, the statute of limitations began running on that

date. Absent any tolling, the limitations period would have expired on

or about December 26, 2017. However, the period was tolled from

December 30, 2015 through March 4, 2016, the time that Edens

pursued administrative relief through the grievance process. When

the limitations period began running again, there were approximately

723 days of the two-year filing period remaining, resulting in a
required filing date of February 26, 2018.

Case: 23-2051 Document:13 Page:15 Date Filed: 07/20/2023

Edens, 2020 WL 1531220, at *4.’

It is also immaterial that Edens was decided at the summary judgment stage.
The court cited Edens for the legal rule that the limitations period for a Section
1983 claim is not tolled between the date of the underlying incident and the date the
plaintiff files an administrative grievance. This rule applies at all stages of
litigation; it is not limited to cases with a developed summary judgment record.
IV. Conclusion

We will deny Robbins’s motion to alter judgment because he has not
presented any meritorious arguments to reconsider our prior decision dismissing

this case as untimely. An appropriate order shall issue.

/S/ CHRISTOPHER C. CONNER
Christopher C. Conner

United States District Judge
Middle District of Pennsylvania

Dated: June 8, 2023

*It appears that Robbins may also be arguing that the court erred because
the wording of the explanatory parenthetical summarizing Edens did not directly
quote Edens. (See Doc. 16 at 11 (“{T]Jhe citing of this said specific excerpt within
Eden[s]... would be a misapplication of law for said cited above excerpt is not
found/identified and/or not located at the case citing specified by this Court.”). This
argument is frivolous. Paraphrasing the holding of a prior decision is a common
and accepted practice in legal citations. See, e.g., THE BLUEBOOK: A UNIFORM
SYSTEM OF CITATION R. 1.5(a)(i), at 65 (Columbia L. Rev. Ass’n et al. eds. 21" ed.
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APPEALS FROM DISTRICT’ COURTS... Rule 4

ber 1, 1989; April 22, 1998, effective December 1, 1998; April
29, 1994, effective December 1, 1994; April 24, 1998, effective
December 1, ane ],

, FRAP 3.1 APPEAL FROM A JUDGMENT
a “OF A MAGISTRATE JUDGE IN A
_ CIVIL CASE [ABROGATED]

[Adopted March 10, 1986, effective July 1, 1986; amended
April 22,. 1993, effective December 1, 1993; abrogated effec-

tive December 1, 1998.]

FRAP 4. APPEAL AS OF rd
Q, . WHEN TAKEN | oo Bue
(a) peat ina. Civil Case, 6 fhe ve FER
. C1) Time’ for Filing a Notice of Appeal.
. (A) In &. civil case, except as prsviied
., 4a) DB), ‘d(aj(4), and 4fc), the notice . of ay ppeal
required by Rule 3 must be filed with’ ‘the district,

clerk within 30 days after the judgment or, order.
appealed f from is entered.

(B) When, the United States or “its officer. or
“agency is a ‘party, the notice of appeal may be filed

_ order appealed from is entered. '

_. .(C) An appeal from an order pranting or ae
an application for a writ of error coram nobis is. an.
_appeal.in a civil.case for purposes ; 2s of Rule 4(a)..
. He > (2) Filing Before Entry of Judgment. A notice of
appeal ‘filed after the court announces’a decision or
order—but before the entry of the judgment-or“or-'
der—is treated .as filed on the date of and. after, the
entry., bee hat
(3) Multiple oneal If one > pani “aay files’a'
notice of appeal, any other party may file.a notice of
appeal within 14 days after the date when the first.
notice was filed, or within the time otherwise pre-
scribed by ‘this Rule aC (a), whichever period ends later.
(4) Effect of a Motion on a Notice of Appeal... _

_ (A) Ifa party timely files in the district Court any
of the following motions under the Federal Rulég of
Civil Procedure, the time to file an appeal runs-for'

- all parties-from the entry of the order- ‘disposing : ‘of
the last sach remaining motion:.

‘Cy for judgment: ‘under Rule 50(b); * ye Od

(ii) to amend or make additional. factual find.
ings under Rule 52(b), whether or not granting
‘the motion would alter the judgment;

(ii) for attorney’s fees under. Rule 54 if the
district court extends the time to appeal under
Rule 58;

- Gy) to alter or amend the saint under Rule
59;

(v) for a new tl under Rule 59; or

(vi) for relief under Rule 60: if the: motion is
. filed no later than 10 days after the jndgment is
entered.

(B)G) Ifa party files..a notice. of spbeul aftar the
‘eoart. ‘announces or, enters a judgment—but before
_ it disposes of.any: motion listed in Rule. 4(a)(4)(A)—
‘the notice becomes effective.to appeal-a judgment
or. order, in whole. or in. part, when the order
‘disposing of the last such remaining motion is en-
tered.

° Gi) A party. intending: ‘to challenge an.,order
ging of any. motion listed'in Rule 4(a)(4)(A),
or, a judgment altered or amended upon , such a

“motion, must file a notice of appeal, or’an amend-
ed, notice of appeal—in compliance’ with Rule
“"B(c) “within the’ time prescribed | by “this “Rule.
- Measured from’ the” entry’ of the order” disposing
of the last such remaining motion. ’

: (iti): No additional - fee is s required 1 to file an
-aleepanded notice. -

, ‘© * Motion for Batension of Time, hy

(A) The district court may. extend the time to file
a notice of appeal if:

() a party so ioves ‘no later than 80 days after
‘the time prescribed ‘by this Rule 4(a) expires; ‘and ~

(ii) regardless’ of whether its: motion is filed
_ before or during the 30 days, after the time
“? prescribed’ by this Rule 4(a) expires; ‘that party
shows excusable rieglect or good cause.

' (B)'A midtion' filed before the expiration of the
_time prescribed in Rule 4(a)(1) or (8) may be ex
~Patté unléss the court: ‘Yequires otherwise: If the
Miriotion is-filed ‘after*the “expiration of the prescribed

time, notice must: ‘be ‘given ‘to whe: other ‘Perks in
accordance with localrules.") © =) .-

(C) No extension under this Rule 4@N8) may

. exceed 30 days after-the prescribed time or 10 days

after the date when the order ‘granting: the motion
is entered, whichever is. later. . A

(6): Reopening the Time to File an Appeal. The
district.court may reopen the-time to file an appeal for
a period of 14 days after: the'date when its order: to’
reopen is entered, but only. if all the 5 sollewein condi-
tions are eousied .

senior: or:order is 5 entered or within 7 dave after
the. moving party . receives notice . of the. moe
whichever is earlier; .-

* (B)' the’ court finds’ that the moving party was
entitled to notice of the éntry ofthe judgment or
order sought to be appealed:but did? not receive the
notice from the district court or any party within 21
days.after.entry; and. . :

(C) the court finds that no ty wot be preju-
diced.

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APPEALS FROM DISTRICT’ COURTS: . : Rule .4

ber 1, 1989; April 22, 1998, effective December i, 1993; April
29, 1994, effective December 1, 1994; April 24, 1998, effective
December iL, 1998.1.

OF A MAGISTRATE JUDGE IN A.
~ _ CIVEL CASE [ABROGATED]
[Adopted March 10, 1986, effective July 1, 1986;-- amended

April 22, 1993, effective December. I, 19985. -abrogated effec-
tive December 1, 1998.] .

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HEE 3.1 APPEAL FROM A JUDGMENT
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_ FRAP 4. APPEAL ‘AS OF agin

” ’ WHEN TAKEN | a BERS EE,

i (a) ‘Appeal acid Case. | ns fe yo PK
. (1) Dime far Filing a Notice of Appedt tbe
. (A) In’ a civil case, éxcept as provided
., a), : ‘A(ay(4), and 4(e), the notice . of appeal
required by Rule 3 must be filed. ‘with ‘the, district,

clerk within 30 days after the Judgment or, aa
‘ “appealed from is entered.

(B) When. the United States or ‘ts iiftiese or
agency is ‘a ‘party, the notice of appeal may bé Hed
by any party within 60° days after, the dndement. or,
: ‘order appealed from is entered. '

Ke (2) Filing Before Hintry of Judgment. « ‘A notieé-of
appeal ‘filed after the court announces” a decision or

der—is treated -25 filed on the date. of and. after, the
6) “Maltiple Arps If one one “eae files" a!
notice of appeal, any other party may.file.a, notice of
appeal within 14 days after the date when the first,
notice was filed, or within the time otherwise pre-
" scribed by’ ‘this Rule 4(a), whichever period ends later.

-(4) Effect of a Motion on a Notice of Appeal...

Rules

‘® Mi ation for: Fatension of. ‘Ting,

(GC) An appeal from an order granting or. sidetnk
an application for a writ of error coram nobis is, an.
‘ appeal,in a civil.case for purposes jof, Rule 4(a).,

order—but before the entry of the judgment-or~ér-:

(vi) for relief under Rule 60: if the-motion is
. filed. no, later than 10 days after: the. juddernent is
‘entered.

_ (BY) Ifa party, files a notice of Lael after tbe

i ‘éoart ‘announces or enters a judgment—but before
«ab disposes. of. any. motion listed: in, Rule. 4(a)y(4)(A)—

‘the. notice becomes effective. .to appeal: a judgment
OF, order, in whole. or in. part, when the order

spd ue Gi)A party. sient ‘to challenge an. orae
” disposing of any, motion listed in .Rule Aay4(A),

OF, & Judgment, altered or amended upon such a.

‘motion, must file a notice of ‘appeal, or’an ‘amend-
ed. notice of appeal—in compliance ' with’ Rule
L"8(c)\" within the” tithe | prescribed ‘by “this “Rule

cgaeamivel fron’ the’ entry’ of the® ‘onder’ disposing

of the last such remaining motion.’

"iy: No° additional - fee is 5 required! = file an
~ariended notice.

(A) The district court may, extend the. time to file
a notice of appeal if:

@ a party so moves ‘no later than 30 dave after

. ‘the. time prescribed’ ‘by this, Rule A(a)’ expires; “and ©

(i) regardless’ of eheties’ its: motion is filed

_, before or during the 30 days. after the time

7 prescribed’ ‘by this Rule 4(a) expires; “that party
sbpate eneusable eget or ponte cause.

time preamibed in’ Rule 4(a)(1) or (8) may be ex
‘parté unléss'thé court ‘requires otherwise. <If the
Fitiotion is Hed: ‘after"the® “expiration: of the prescribed
time, notice must ‘be ‘given to thé: other Parties in
_aceordance with local rules.) © 3.2

(C) No extension under this Rule ‘Aay(5). may
. exceed 30 days ‘after.the prescribed time or 10 days
after the date when the order " granting: the motion
is entered, whichever is. Jater. . oR

59;

(A) If a party timely files in the district tout 2 any-

of the following motions under thé Federal Rules of:

‘Civil Procedure, the time to file an appeal runs’ for'
all parties-from the entry of the order: apoE ‘of
‘the last such remaining motion: a

a

“ay for judgment: ‘under Rule 50(b); iB

Gi) to ‘amend or make. additional, factual find-
ings under Rule 52(b), whether or not granting.
‘the motion would alter the judgment;

. Gi) for attorney's fees under. Rule 54 if the
“district court extends the time to appeal, ‘under
Rule 58;

- -G¥) to alter or amend the jndgment under Rule

(y) for a new, trial under Beis 59; or

M6): ‘Reopening: the Time to F a an, ‘Appeal The.

district:court may reopen: ‘the-time to file an appeal for-
a period of 14 days after:the date when its:order: to’
reopen is entered, but only if all the a condi,
tions are, satisfied: . .

# (A). the motion is: filed. within 1 180 aye after, the
judgment or: order is entered: or within 7 days after
-the. moving. party , receives _ notice, of. Ane eT:
whichever is earlier; ».) 0.)
» (B)' the’ court finds that’ the moving party was.
entitled to notice of the éntry: ofthe jadgment or
order sought.to be appealed: ‘but did not receive the
notice from the district court or any party within 21
days.after.entry; and. =. :.

(C) the court. finds that: no o party would be Preju:
‘dioed.

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Re 25-208 Document: 13 _ Page: 19 Date Filed: 07/20/2023
|

N THE UNITED STATES DISTRICT CouRT
For THe MIDDLE DIsTRicr OF PENNSYLVANIA

VERNON D. F. ROGAINS,
. APPELLANT
Vv,
| NOTICE oF APPEAL.
JOUN &. WETZEL, ef al, CIVIL ACTION INO, 1:23-CU- 027
APPELLEES

NOTICE OF APPEAL

Novice 15 Heresy Given Tar VERNor! D.F. Rosains, PLAINTIFF

FP COURT OF APPEALS For THE THIRD CiRWWIT FRom THE DISTeILE Court's
(FORDER RENDERED ON THE 8TH Day OF JUNE, 2023, DUE To THE
J DENIAL OF PLAINTIFF'S Morin TO ALTER OR AMEND JUDGMENT -

PURSUANT TO FED. R. ClV. P. Ruus S464), AY Wee AS, THE Disreies

Covers OLdER RENDEED ON THE 8™ Day oF MAY, 2023, PURSLANT
[T° 22 U.S.C, § 1415 (e)(2) AND 28 U.S.C.§8 145 A, IN WENCH THE DISTRICT

Cover Asserts THAT PLAINTIFF'S AMENDED COMPLAINT 19 DISMISSED
WITH PReTUDICE AS UNTImeLy, THE AFoRementione) ObDER 1§ ATTACHED

Hever FoR THe REWwRD,

DATE le (2. 23, beth —
VERNON D.E ROBBINS GkEsx0
Woo Pike Sreeer

NUNTINGDoA! PA. [U5 -1142

Case: 23-2051 Document:13 Page:20 Date Filed: 07/20/2023

Ey WBIE

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Vernon D.F. Robbins,

Appellant
V.
Notice of Appeal
John E. Wetzel, et al., : Civil Action No. 1:23-CV-0276
Appellees :

FEDERAL RULES OF APPELLATE PROCEDURE,
RULE 10. THE RECORD ON APPEAL

A Notice of Appeal having been filed in this matter- it is hereby
REQUESTED that an Order be issued to furnish appellants with a copy of the
transcripts in this matter in accordance with Fed.R.App.Proc. Rule 10(a)(1)

through (3). Appellant is proceeding pro se and In Forma Pauperis.

Date: lc s (7 / 23

Vernon D.F. Robbins
GK8880

1100 Pike Street .
Huntingdon,Pa.16654-1112

Case: 23-2051 Document: 13 Page: 21 Date Filed: 07/20/2023

EXU|p Bit =.

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Vernon D.F. Robbins,

Appellant
V.
Notice of Appeal
John E. Wetzel, et al., : Civil Action No. 1:23-CV-0276
Appellees :

APPLICATION TO PROCEED IN FORMA PAUPERIS ON APPEAL

An Appeal having been filed in this matter, the Appellant hereby verifies

that he has been proceeding In Forma Pauperis pursuant to 28 U.S.C. § 1915 in

this matter and his circumstances have not changed other than the fact that he

now receives nominal income from prison wages that amount to no more than

$17.00 per month.

WHEREFORE, Appellant prays this Honorable Court grant this application.

Date: b (17S 2

~

Vernon D.F. Robbins
GK8880

1100 Pike Street
Huntingdon,Pa.16654-1112
. , Lase: 23-2051 Document: 13 Page: 22 Date Filed: 07/20/2023
EXWIA T~ ©

CERTIFICATE OF SERVICE

Plaintiff Vernon D.F. Robbins hereby certifies that he is, on this {7/¥_ day

of JUNE 2023, serving this Notice of Appeal, Federal Rules of Appellate

Procedure, Rule 10. The Record on Appeal, and Application to Proceed In Forma

Pauperis on Appeal upon the below persons which are indicated as follows:

Office of the Clerk

United States District Court

Sylvia H. Rambo United States Courthouse
1501 North 6th Street, Suite 101
Harrisburg, Pa. 17102

Date: & / /7 J 22

(pf

Vernon D.F. Robbins
GK8880

1100 Pike Street
Huntingdon, Pa. 16654-1112

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